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 6
                          UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHINGTON
 8

 9                                           ) Case No.: 1:19-CR-2038-SAB
     UNITED STATES OF AMERICA,               )
10                                           )
                  Plaintiff,                 )
11                                           ) Memorandum of Authorities
           vs.                               )
12                                           ) For Motion for New Trial
     Jordon Everett Stevens,                 )
13                                           )
                   Defendant                 )
14

15

16                             FACTS AND PROCEDURAL HISTORY
17

18   On June 10, 2021 Jordan Stevens was convicted of First-Degree
19   Murder and Discharging a Firearm During and in Relation to a
20   Crime of Violence. Benjamin Seal and Richard Burson represented
21   the United States. Ulvar Klein, Robin Emmans and Karla Kane (The
22   Defense Team) represented Mr. Stevens. During the four-day
23   trial, among the witnesses presented by the Prosecution were two
24   eye witnesses, Jessica McCormick and Samantha Tainewasher, who
25   testified that on the day of the murder they drove to a closed
26   area of the Yakima reservation with Stevens. The vehicle stopped
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 1   and the Stevens shot the victim with a single shot from a rifle.
 2   Tim Castilleja testified that McCormick, Tainewasher and Stevens
 3   appeared at a tavern in Tainewasher’s vehicle, and that Stevens
 4   had a rifle.      Stevens DNA was found on cigarette butts in ST’s
 5   vehicle.     The jury also heard statements made by the Stevens
 6   after learning of the murder charge: “Ain’t nobody’s fault but
 7   my own” and “I guess the spirits do really come back on you.”
 8   For its last witness the prosecution called the lead case agent,
 9   FBI Special Agent Barefoot.        It was decided earlier among the
10   defense team that Emmans would cross examine Barefoot. The cross
11   of Barefoot occurred over a two-day period because of scheduling
12   issues. The Defense team’s theory of the case, as later
13   explained by Klein, was that Agent Barefoot “rushed to judgment”
14   assuming Stevens was guilty and tainted the witnesses by telling
15   them what he believed happened the day of the murder.                 Toward
16   that end Emmans asked the Agent a series of questions about the
17   Agent’s investigation focusing solely on the Defendant as a
18   “suspect” or “person of interest” rather than the witness
19   McCormick.     Pertinent here is Emmans cross, Trial Transcript Day
20   3 (TT3 at 224) as follows:
21   Q.   So in these documents, when you identify a case, again, you
22   have – you identify the involved person.             In some of these you
23   are identifying both Jasmine and Jordan above the listed victim;
24   is that right?
25   A.   In the case title?
26

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 1   Q.   So, in the case ID you list – there’s a number, but there’s
 2   also involved persons.
 3   A. Yes.
 4   Q. Okay.     The top, at the top is a person of interest or a
 5   suspect?
 6   A. Yes.
 7   Q.   And then its looks like a location?
 8   A.   Sounds right.
 9   Q. Okay. And in some of these you’re listing both Jordan Stevens
10   and Jasmine McCormick - - or at least in one of those; is that
11   right?
12   A.   In one of the cases?
13   Q.   In one of these documents where you’re identifying the case
14   and who you are interested in as a suspect.
15   A.   Well, there are two, there’s two cases in play here.
16   Q. Okay, if I handed you one - --
17   The Court: All right. Let’s not do this - -
18   The Witness: I have       - -
19   The Court: In front of the jury.
20   Ms. Emmans: Okay.
21   The Court: Do you need to check the documents to see if you gave
22   him the correct document?
23   Ms. Emmans:      I probably should.
24   The Court: All right. Kingsley, can you return the documents,
25   please.
26   Ms. Emmans: Thank you.
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 1   --
 2   Q.   Let me just ask it this way. In those forms, normally if
 3   there more than one suspect, you would put both of them above
 4   the victim?
 5   A. Correct.
 6   Q. But in the ones relating to this case, you are listing only
 7   Jordan Stevens; is that correct?
 8   A.   That’s correct.
 9   Q. As early as June 3; correct?
10   A. That sounds correct.
11   Q. Okay.
12   The Court: What year counsel?
13   Ms. Emmans: I’m sorry?
14   The Court: What year?
15   Ms. Emmans: Oh, thank you. 2019.
16   Q. (By Ms. Emmans) June - -
17   A. That sounds correct.
18   Q.   - - 2019; right?
19   A. Yes.
20   Q. Okay. All right.       All right. So as early as June 3, you’ve
21   already made that transition in your documentation?
22   A.   Again, I wouldn’t call it a transition.              The evidence was
23   clear in this case that regardless of whether or not Ms.
24   McCormack was involved and in what capacity, Jordan Stevens was
25   the one who killed Ms. Minthorn.
26   Mr. Klein: Object. Move to strike, please.
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 1   The Court: Proceed.
 2   Ms. Emmans: I didn’t hear.
 3   The Court: Proceed.
 4         The questioning of Agent Barefoot by Ms. Emmans continued
 5   until break.      During the break Mr. Klein told the Court: “I
 6   admit I spoke out of turn. It was Ms. Emmans witness.                 But it
 7   way far afield for an officer to go ‘I know Jordan did it.                   I
 8   know he’s guilty.’        That opinion testimony comes in, and runs
 9   the risk of adding speculation that maybe the agent has special
10   hidden knowledge that the jury is not getting.               And so, when
11   he’s answering saying, ‘He’s guilty.            Jordan did it, there’s no
12   doubt”.
13         The Court advised Klein that he was “extrapolating just a
14   little bit” TT3 at 236 and had the court reporter pull a rough
15   transcript of the agent’s answer and provided its own version of
16   what the agent had testified to.             Mr. Klein advised the Court
17   that his objection was still standing to strike the testimony
18   and give a curative instruction.           Prosecutor Seal advised the
19   Court he thought that the defense had opened the door based upon
20   Emmans line of questioning leading up to Agent’s statement of
21   defendant’s guilt.        The Court advised that it would give it
22   some thought and for the parties to work on some proposed
23   language if a curative instruction was to be given.                After some
24   other housekeeping matter the Court adjourned.
25         The following day Emmans advised the Court that she had
26   been “kind of sick the last couple of day” but felt fine
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 1   currently.      Klein then advised the Court: “We are not making a
 2   motion for a mistrial.       We are making a motion for a curative
 3   instruction.” TT4 at4 The Court then advised the parties that it
 4   had given the situation some thought would give its solution
 5   after hearing from each side.           The Court then stated that Agent
 6   Barefoot, as lead investigator, was attempting to explain his
 7   decision as to only listing Stevens as a suspect and not others.
 8   “In the Court’s opinion, Special agent Barefoot did not vouch
 9   for the believability of any witness.             Special Agent Barefoot
10   did not testify that Jasmine McCormick was believable or
11   truthful.”       However, the Court did say that the Agent’s
12   unfortunate statement, that Stevens was the one that killed Ms.
13   Minthorn, was a decision the jury must make and therefore the
14   best way to handle this situation was to strike that comment.
15   The instruction to strike was largely taken from the
16   government’s offering.       The Court began with reciting Agent’s
17   Barefoot verbatim statement, followed by the instruction not to
18   consider the statement during deliberation.                “The question of
19   guilt or innocence is strictly a matter for the jury to decide.”
20   The Prosecution wanted Klein to put on the record that the
21   defense was withdrawing the motion for mistrial.                Klein obliged
22   saying “Judge, clearly we are withdrawing the motion for
23   mistrial after consultation with our client.”                As the discussion
24   continued the Court advised the parties that while the offending
25   area of the Agent’s testimony was to be stricken, he was still
26   on the stand and that the area of his testimony is still subject
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 1   to cross-examination and redirect. The Court further explained
 2   that the Agent’s offending testimony was a result of the Defense
 3   team opening the door by saying, “Why did the reports change
 4   over time? . . .          So that door was opened as to why and when did
 5   that happen, and I think he can say: ‘Well, because the focus of
 6   my investigation was Jordan Stevens was the suspect; not Jasmine
 7   McCormack.’”      TT4 at10.
 8         After the Agent’s testimony, Stevens was convicted.                   On
 9   October 5, 2021 the Defense filed a Motion for New Trial (ECF
10   167) pursuant to FRCrP 33(b)(1) claiming ineffective assistance
11   of Defense counsel Emmans.          Emmans claimed that in mid-July 2021
12   she had discovered she mixed up her depression and anxiety
13   medications with blood pressure medication prior to and during
14   the trial.     Because of this “newly discovered evidence” it
15   affected the fitness of counsel during trial wherein she
16   elicited the Agent’s testimony on Stevens’ guilt.                  The motion
17   for mistrial that was withdrawn in favor of a curative
18   instruction was made without the knowledge of Ms. Emmans
19   impairment.      The Defense filed Declarations by Emmans Nurse
20   Practitioner and Co-counsel Klein concurring with Emmans
21   declaration. Ms. Kane was to make the Ineffective Assistance of
22   Counsel argument for the Defense at the hearing. The Prosecution
23   responded (ECF 173) by pointing to Emmans’ otherwise “robust
24   cross-examination” of the Agent, performing effectively at
25   trial.     The Prosecution also cited several cases wherein
26   counsel’s mental illness, taking legal and illegal drugs, abuse
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 1   of alcohol, etc. was, in of itself, did not equate to a Sixth
 2   Amendment violation as explained in Strickland v. Washington,
 3   466 U.S. 668, 687 (1984).        The inquiry is whether, for whatever
 4   reason, counsel’s performance fell below the standard of
 5   objective reasonableness, and that deficiency prejudiced the
 6   Defendant.      Id.
 7         On December 1, 2021, the Court held a hearing on the Motion
 8   for New Trial. (ECF 167). Before beginning, the Court posed two
 9   questions to respective counsel being “. . . concerned that
10   we’re just creating a 2255 problem that we would all have to
11   deal with perhaps in the future given the seriousness of this
12   case.”
13   Question 1: Can an attorney claim ineffective assistance of
14   counsel based upon their own representation or should the claim
15   be brought, presented, and argued to the court by an independent
16   lawyer, someone who is not involved in the activity that is
17   under review?
18   Question 2: Should there be an evidentiary hearing with
19   testimony on the issue of ineffective assistance of counsel or
20   can the court proceed on affidavits alone? Is a Waiver needed?
21

22         The Prosecution advised the Court that attorney Kane, part
23   of the defense team, could argue the IAC motion because she was
24   not in the same law firm as was Klein and Emmans.                The
25   Prosecution also queried as to what were the specific errors or
26   omissions that prejudice the defense? (ECF 173). Ms. Kane on the
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 1   other hand advised that the Court could go forward on the
 2   hearing because she was a separate entity from the law firm of
 3   Klein and Emmans.         She further argued that the Court could rely
 4   on the affidavits submitted by the Defense sufficiently enough
 5   without an evidentiary hearing.           Klein advised that, in light of
 6   the Court’s comments, the court should maintain Klein, Emmans,
 7   and Kane as Stevens’ lawyers but should appoint a different
 8   lawyer to handle the ineffective assistance claim prior to
 9   sentencing. The Court decided to continue the hearing and
10   appoint independent counsel to attempt to answer the two
11   questions posed. TT Dec. 1 2021 hearing at 10.
12

13                                      ANALYSIS
14                                     Question I
15            In answering whether an attorney can claim their own
16   ineffective assistance of counsel, the research conducted so far
17   has revealed no cases to support Emmans bringing her own
18   Ineffective Assistance of Counsel (IAC) claim, instead of the
19   Defendant.     However, no cases can be found that prohibits Emmans
20   from moving the Court for a new trial based on her own admission
21   of ineffectiveness. Yet, this presupposes that a Motion for a
22   New Trial based on an IAC claim may be brought pursuant to FRCrP
23   33(b)(1), as discussed below.
24

25   Inherent in answering the Court’s question, “best practices”
26   reveal that not only Emmans, but the whole defense team should
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 1   remove themselves so that an independent lawyer who has no
 2   involvement in the activities of the current defense team.                    This
 3   opinion is based upon several reasons.
 4   First, the ABA Criminal Justice Standards for Defense Function
 5   makes clear under Standard 4-8.1 Post - Trial Motions:
 6   b) Unless contrary to the client’s best interests or otherwise
 7   agreed or provided by law, defense counsel should ordinarily
 8   represent the client in post-trial proceedings in the trial
 9   court. Defense counsel should consider, however, whether the
10   client’s best interests would be served by substitution of new
11   counsel for post-trial motions.
12   “(c) If a post-trial motion is based on ineffective assistance
13   of counsel, defense counsel should seek to withdraw in
14   accordance with the law regarding withdrawal and aid the client
15   in obtaining substitute counsel.”
16   Standard 4- 9.6 Challenges to the Effectiveness of Counsel
17   (b) If defense counsel concludes that he or she did not provide
18   effective assistance in an earlier phase of the case, counsel
19   should explain this conclusion to the client. Unless the client
20   clearly wants counsel to continue, counsel in this situation
21   should seek to withdraw from further representation of the
22   client with an explanation to the court of the reason,
23   consistent with the duty of confidentiality to the client.
24         With the above in mind, it stands to reason that once an
25   IAC claim is brought, either by the Defendant or irregularly by
26   Defense counsel as was done here, that lawyer as well as any of
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 1   the defense team should withdraw in favor of new counsel.                    Here,
 2   the instant motion presumes that Emmans was ineffective by
 3   inviting error when cross-examining Agent Barefoot. See United
 4   States v. Watson, 260 F.3d 301 (3rd Cir. 2001).                Moreover, did
 5   Emmans questioning of the Agent actually “open the door”, as the
 6   Court believed, or did the Court answer that question when
 7   paraphrasing how the Agent can (and should) respond by to Emmans
 8   line of questions by saying: ‘Well, because the focus of my
 9   investigation was Jordan Stevens was the suspect; not Jasmine
10   McCormack.’”       Moreover, can the Agent’s opinion as to the
11   ultimate issue of Stevens guilt, prohibited by Fed.R.Evid.
12   704(b), be curable by a jury instruction alone?                 But See United
13   States v. Navarro-Montes, 521 Fed.Appx. 611 (2013 – not selected
14   for publication, see also Ninth Circuit Rule 36-3); also see
15   United States v. Boykins, 834 Fed.Appx. 515 (2020). In other
16   words, Did Ms. Emmans questions, whether by mistake or design
17   actually elicit the Agent testimony about the mental state of
18   the Defendant by offering his opinion on Stevens’ guilt.                   See
19   United States v. Watson, 260 F.3d 201 (3rd Circuit 2001). Further
20   did the Agent actually improperly vouch for the other two
21   witnesses eye witnesses who testified previously by his
22   preliminary comment: “the evidence was clear….”                 Id. at 615.
23   While the Court here believed there was no impermissible
24   vouching the problem arises when the Defense team did not
25   object, inviting review for plain error instead of under the
26   less stringent abuse of discretion standard.                Id. at 614.      It
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 1   also presumes that there were no additional errors by the
 2   Defense team when Klein advised the Court that he was
 3   withdrawing the motion for mistrial and assented to a curative
 4   jury instruction alone.           Clearly, Agent Barefoot statement could
 5   be interpreted as far more damming than that of the Agent’s
 6   statement in Navarro-Montes. Research completed thus far shows
 7   no instances where Defense counsel has remained after the
 8   Defendant has claimed IAC.
 9    Moreover, most of the cases reviewed for ineffective assistance
10   of counsel come by way of either a direct appeal or by Habeas
11   when defense counsel no longer represented the person convicted,
12   and thus new counsel was appointed.               For example, many of the
13   cases cited by the Prosecution in the instant Response to Motion
14   for New Trial (ECF 173) are Habeas cases where new counsel had
15   been appointed.       See McDougall v. Dixon, 921 F.2d 518 (4th Cir.
16   1990); Bonin v. Calderon, 59 F.3d 815 (9th Cir. 1995); Fry v.
17   Lee, 235 F.3d 897 (4th Cir. 2000); Berry v. King, 765 F.2d 451
18   (5th Cir. 1985).       Interestingly in Berry, the trial attorney
19   testified in his own defense as to the claim of IAC by Berry.
20       In another case in the Eastern District of Washington,
21   substituted counsel moved for a new trial by claiming
22   ineffective assistance of counsel after a conviction of First-
23   Degree Murder but before sentencing, pursuant to FRCrP 33(b)(1).
24   In United States v. Norman Ford, 2:06-CR-0083-EFS (ECF 438) the
25   Honorable Judge Edward Shea ordered a new trial for Ford after
26   reconsideration.           The Court found, after reviewing the submitted
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 1   materials, including the responses to the Court’s tentative
 2   order, and hearing from counsel, that “… the interest of justice
 3   require a new trial” because Ford’s Sixth and Fourteenth
 4   Amendment rights to be correctly advised by either the Court or
 5   Defense Counsel about the mandatory life imprisonment sentence
 6   he faced if convicted of Count 1 – felony (burglary of a
 7   residence) murder were violated.            (See Attached Order as Exhibit
 8   A).   Under the Sixth Amendment Defendant is entitled to
 9   effective assistance of counsel as stated in Strickland.                   The
10   Court also held that the Fourteenth Amendment’s due process
11   clause also requires the Defendant receive notice as to the
12   nature of the charges against him.            The Court found that neither
13   the Prosecution nor the comments of the magistrate judge at
14   arraignment provided Defendant with clear and correct notice as
15   to the penalty on Count 1. Ford submitted a Declaration he was
16   told he faced “’up to’ [a] life sentence on Count 1 [and] was
17   never informed by the Court or the US Attorney that the penalty
18   . . . was mandatory life sentence.”             Ford’s attorney at the time
19   but who was later substituted by new counsel stated that while
20   he gave his client a copy of the government’s letter advising of
21   the mandatory life term, he also stated that he advised Ford
22   that the Court discretion to depart downward.                The Court held
23   that based upon the attorney’s statements, and the attorney not
24   researching the issue on his own, found Ineffective assistance
25   of counsel, and that these violations under the Strickland
26   standard constituted newly discovered evidence FRCrP 33(b)(1).
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 1   However, in doing so the Court recognized that the Ninth Circuit
 2   has limited the ability of a defendant to seek a new trial under
 3   Rule 33 based on ineffective assistance of counsel citing United
 4   States v. Pirro, 104 F.3d 297, 299 (9th Cir 1997; United States
 5   v. Hanoum, 33 F.3d 1128, 1130-31 (9th Cir. 1994).                Yet the Court
 6   further explained that the case before presented a rare
 7   circumstance where the record is sufficiently developed to
 8   permit determination of the issue.            “In addition, this is not a
 9   case where Defendant is arguing that trial counsel failed to
10   prepare for trial, call a particular witness or seek exclusion
11   of particular evidence. . . .” Id.
12   Perhaps of the most significance for purposes of this memorandum
13   is the almost insurmountable problem with Ms. Kane going forward
14   under the instant motion for new trial when viewing the holding
15   in both Pirro and Hanoum.         In Hanoum, the Defendant claimed the
16   district court erred in dismissing his Rule 33 motion for a new
17   trial as untimely. Relying on Baumann v. United States, 692 F.2d
18   565 (9th Cir.1982), the district court held that because the
19   motion for a new trial was based upon a claim of ineffective
20   assistance of counsel, it was not based on “newly discovered
21   evidence”, and therefore was untimely, as it was not brought
22   within the limit seven days of the verdict.                (Now 14 days.)
23   Hanoum argued that the district court erred in holding that
24   ineffective assistance of counsel can never constitute new
25   evidence under Rule 33. Hanoum claimed that ineffective
26   assistance of counsel can constitute new evidence if the
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 1   ineffectiveness claim is based upon facts which were unknown to
 2   the accused at the time of trial. Hanoum relies on this court's
 3   statement that “we are not at liberty to disregard the explicit
 4   directive of Rule 33 and exempt from the 7–day limitation claims
 5   of ineffective assistance of counsel based upon facts known to
 6   the accused at the time of trial.” United States v. Lara–
 7   Hernandez, 588 F.2d 272, 275 (9th Cir.1978) (emphasis added).
 8   Hanoum argued that this language implies that if the underlying
 9   facts are unknown to the accused at the time of trial, the
10   ineffective assistance of counsel can be considered as “new
11   evidence.” Id. at 1130.         The Court held however, that “[t]his
12   theory, however, must confront the fact that our test for newly
13   discovered evidence requires that the evidence “must be such,
14   and of such nature, as that, on a new trial, the newly
15   discovered evidence would probably produce an acquittal.” This
16   language certainly suggests that newly discovered evidence must
17   generally, if not always, be evidence related to the issues at
18   trial, not evidence concerning separate legal claims such as
19   ineffective assistance of counsel. United States v. DeRewal, 10
20   F.3d 100, 104 (3rd Cir.1993) (citations omitted), cert. denied,
21   511 U.S. 1033, 114 S.Ct. 1544, 128 L.Ed.2d 196 (1994). We have
22   also held that the newly discovered evidence “must be material
23   to the issues involved, not merely cumulative or impeaching, and
24   must indicate that a new trial probably would produce an
25   acquittal.” United States v. Lopez, 803 F.2d 969, 977 (9th
26   Cir.1986), cert. denied, 481 U.S. 1030, 107 S.Ct. 1958, 95
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 1   L.Ed.2d 530 (1987).        We hold that a Rule 33 motion based upon
 2   “newly discovered evidence” is limited to where the newly
 3   discovered evidence relates to the elements of the crime
 4   charged. Newly discovered evidence of ineffective assistance of
 5   counsel does not directly fit the requirements that the evidence
 6   be material to the issues involved, and indicate that a new
 7   trial probably would produce an acquittal. The fact that
 8   Hanoum's attorney @1131 allegedly failed to do anything to
 9   prepare a case is material to whether he was effective or not,
10   but not to whether Hanoum is innocent or guilty of the crimes
11   charged. While it is true that the evidence he should have put
12   on might have been material, that evidence itself was not what
13   was newly discovered. Hanoum knew of such evidence, but did not
14   know his counsel was allegedly repressing it. Additionally,
15   evidence of ineffectiveness will seldom if ever indicate that a
16   new trial would probably produce an acquittal. The same problem
17   occurs: it is the underlying evidence suppressed or not
18   presented by the attorney, not the attorney's ineffectiveness,
19   that might produce the acquittal.            As the Fifth Circuit pointed
20   out in United States v. Ugalde, 861 F.2d 802, 809 (5th
21   Cir.1988), cert. denied, 490 U.S. 1097, 109 S.Ct. 2447, 104
22   L.Ed.2d 1002 (1989):
23   ‘If we were to create such an exception for evidence of
24   ineffective assistance of counsel, we would greatly expand the
25   opportunities to make a late request for a new trial. Defendants
26   could easily search out some fact about their lawyer's pre-trial
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 1   preparation, and make that fact the basis for an otherwise
 2   untimely motion for new trial.’”
 3

 4   In Pirro, the Defendant was convicted of assault on a federal
 5   agent and of use of a gun during the commission of the assault.
 6   After conviction but before sentencing, defendant sought habeas
 7   relief on grounds of ineffective assistance of counsel. The
 8   District Court denied relief, and defendant appealed the
 9   decision and separately appealed his conviction. the Court of
10   Appeals consolidated.         The Court stated: “The customary
11   procedure for challenging the effectiveness of defense counsel
12   in a federal criminal trial is by collateral attack on the
13   conviction under 28 U.S.C. § 2255.” United States v. Miskinis,
14   966 F.2d 1263, 1269 (9th Cir.1992) (quoting United States v.
15   Birges, 723 F.2d 666, 670 (9th Cir.), cert. denied, 466 U.S.
16   943, 104 S.Ct. 1926, 80 L.Ed.2d 472 (1984) (alteration
17   omitted)). We have rejected the use of a Rule 33 motion for new
18   trial based on “newly discovered evidence” involving the
19   ineffective assistance of counsel. United States v. Hanoum, 33
20   F.3d 1128, 1130 (9th Cir.1994), cert. denied, 514 U.S. 1068, 115
21   S.Ct. 1702, 131 L.Ed.2d 564 (1995). We also have rejected the
22   use of direct appeal for ineffective assistance of counsel
23   claims, except in limited circumstances where the record is
24   sufficiently developed. Miskinis, 966 F.2d at 1269. In this
25   case, however, Pirro brought his ineffective assistance claim
26   neither in a direct appeal nor in a Rule 33 motion for new
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 1   trial, but in a section 2241 habeas corpus petition. We
 2   therefore must consider whether section 2241 was an appropriate
 3   mechanism for relief.          Delay in considering a section 2255
 4   motion results from our direction that, for reasons of judicial
 5   economy, “‘[a] district court should not entertain a habeas
 6   corpus petition while there is an appeal pending in this court
 7   or in the Supreme Court.’” United States v. Deeb, 944 F.2d 545,
 8   548 (9th Cir.1991) (quoting Feldman v. Henman, 815 F.2d 1318,
 9   1320 (9th Cir.1987)), cert. denied, 503 U.S. 975, 112 S.Ct.
10   1597, 118 L.Ed.2d 312 (1992). In holding that delay in the
11   resolution of a section 2255 motion does not entitle a defendant
12   to bypass section 2255 in favor of section 2241, we join other
13   circuits who have rejected arguments that the delay in the
14   disposition of a section 2255 motion renders it an inadequate
15   remedy. In Winston v. Mustain, 562 F.2d 565, 566-67 (8th
16   Cir.1977),
17

18                              Issue of Evidentiary hearing
19

20   In general it is within the Court’s discretion whether to accept
21   affidavits or require live testimony at a hearing on motions
22   before the Court. Hanoum also raised a claim on direct appeal
23   that he was denied effective assistance of counsel, due to the
24   same alleged conflict of interest. “[T]he customary procedure in
25   this Circuit for challenging the effectiveness of defense
26   counsel in a federal criminal trial is by collateral attack on
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 1   the conviction under 28 U.S.C. § 2255, and this Court has been
 2   wary of analyzing insufficiency of counsel claims on direct
 3   appeal.” United States v. Schaflander, 743 F.2d 714, 717 (9th
 4   Cir.1984) (citations omitted), cert. denied, 470 U.S. 1058, 105
 5   S.Ct. 1772, 84 L.Ed.2d 832 (1985). This court usually declines
 6   to reach ineffectiveness challenges on direct appeal, because
 7   the claim cannot be advanced without development of facts
 8   outside the record. The same approach has been taken for claims
 9   of ineffectiveness due to a conflict of interest. See United
10   States v. Miskinis, 966 F.2d 1263, 1268–69 (9th Cir.1992).                     This
11   court can consider a claim of ineffective assistance of counsel
12   on direct appeal if the record is sufficiently complete to allow
13   us to decide the issue. Id. at 1269. The record before us
14   illustrates precisely why ineffective assistance claims cannot
15   generally be evaluated on direct appeal.” United States v.
16   Wagner, 834 F.2d 1474, 1483 (9th Cir.1987), cert. denied, 510
17   U.S. 1134, 114 S.Ct. 1110, 127 L.Ed.2d 420 (1994). When a claim
18   of ineffectiveness is based on a conflict of interest,
19   particularly a pecuniary conflict between the client and his
20   attorney, it is especially important to develop the facts of the
21   conflict in a hearing, as the conflict will never be apparent
22   from the trial court record.             Hanoum at 1132.
23   A district court has discretion in determining whether to hold
24   an evidentiary hearing on a § 2255 motion. United States v.
25   Booth, 432 F.3d 542, 545 (3d Cir. 2005); Virgin Islands v.
26   Forte, 865 F.2d 59, 62 (3d Cir. 1989). This Court may dismiss a
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 1   motion brought under § 2255 without a hearing where the record
 2   shows conclusively that the movant is not entitled to relief.
 3   United States v. Day, 969 F.2d 39, 41-42 (3d Cir. 1992). In
 4   considering the petition, a district court must “accept the
 5   truth of the movant's factual allegations unless they are
 6   clearly frivolous on the basis of the existing record.” United
 7   States v. Creamer, 2012 WL 3641351, at *3 (E.D. Pa. Aug. 24,
 8   2012) (quoting Booth, 432 F.3d at 545). “Vague and conclusory
 9   allegations contained in a § 2255 petition may be disposed of
10   without further investigation by the District Court.” Gomez-
11   Alamanza v. United States, 2013 WL 1951939, at * 3 (E.D. Pa.
12   Apr. 24, 2013) (quoting United States v. Thomas, 221 F.3d 430,
13   437 (3d Cir. 2000)).”
14

15   The above concludes the research on the two issues discussed at
16   the December 1 2021 hearing on the Motion for New Trial (ECF
17   167) filed by the defense. At the Status Hearing April 12, 2002
18   the issue of further testimony will be discussed with the Court.
19

20   In this case testimony to expand on the facts alleged in the
21   Motion for New Trial (ECF 167) may be a probative exercise. The
22   motion affidavits previously filed are sufficient to state the
23   claim. Additional affidavits or testimony from the defendant may
24   flesh out the impact on his sixth amendment right to effective
25   counsel. Testimony or affidavits from additional witnesses who
26   were present in court may also provide a clearer record of the
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 1   events leading to the conclusion that the defendant was
 2   prejudiced by ineffective assistance of counsel.
 3

 4                                        Waiver
 5   A waiver by the defendant of additional testimony in support of
 6   the motion for new trial presumes he is aware of legal theory.
 7   However, if explained properly he would understand the options
 8   before the Court to allow additional testimony or not. The
 9   defendant’s statement will be filed separately prior to the next
10   status hearing. The Court can inquire further at that time.
11

12   This memorandum is intended to present the law; additional
13   testimony is up to the discretion of the Court, and argument by
14   counsel to be scheduled at the hearing and reserved for a reply
15   brief.
16

17                                     CONCLUSIONS
18

19
        1. No case law has been found to determine that a Defense
20
           attorney claim ineffective assistance of counsel based upon
21         their own representation. However, this may be easily
           rectified by presenting the issue to the Defendant and
22
           follow up with his Declaration.
23      2. Defense counsel as well as the entire defense team should
           absolutely seek to withdraw in accordance with the law
24         regarding withdrawal and aid the client in obtaining
25
           substitute counsel.

26

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          3.   It appears that the Court has discretion to hold an
 1
     evidentiary hearing with testimony to flesh out any issues new
 2   counsel may consider bringing in addition to the issue that it
 3
     cannot proceed on affidavits alone, and that the hearing itself
     is not foreclosed by on the holding in Pirro and Hanoum.
 4

 5

 6

 7

 8         Dated this 8th day of April, 2022.
 9
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                                                               WSBA 11253
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                                                               Robert R. Fischer
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     /
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                                 CERTIFICATE OF SERVICE
 1

 2             I hereby certify that on April 8th, 2022, I

 3   electronically filed the foregoing with the Clerk of the Court
 4
     using the CM/ECF System which will send notification of such
 5
     filing to the following: AUSA Richard Burson.
 6

 7
                  Dated this 8th day of April, 2022.
 8
                                                               s/Virginia Rockwood
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